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AFTER VISIT SUMMARY

Shedrick Northern-Bowes MRN: 3002722753 CSN: 32853937

fal 5/16/2020 QO Southlake Emergency Department 219-738-5510

Instructions

Your personalized instructions can be found at the end of this
document.

Read the attached information
Contusion (English)

 

Schedule an appointment with Vineet P Shah, DO as
soon as possible for a visit in 1 week (around
5/23/2020)
Why: If symptoms worsen - orthopedic doctor
Specialty: Orthopedic Surgery
Contact: 101 E 87TH AVENUE

Merrillville IN 46410

219-738-6670

 

What's Next

You currently have no upcoming appointments scheduled.

Follow-up Information

Vineet P Shah, DO. Schedule an appointment as soon as

possible for a visit in 1 week.

Specialty: Orthopedic Surgery

Why: lf symptoms worsen - orthopedic doctor
Contact information:

101 E 87TH AVENUE

Merrillville IN 46410

219-738-6670

BELONGINGS

The following personal items were collected during your admission
and were returned to you:

Shedrick Northern-Bowes e Printed at 5/16/20 10:02 PM

Today's Visit

You were seen by Kathryn M Avina, PA-C
Reason for Visit

¢ Knee Injury

° Back Pain

« Assault Victim

Diagnosis

Contusion of left knee, initial encounter

Imaging Tests
KNEE/OBLIQUES LEFT X-RAY

(#] Done Today
Orthopedic Injury

& Medications Given

ketorolac (TORADOL) Last given at
8:43 PM

Your End of Visit Vitals

Blood ): Temperature
Pressure \F (Oral)
165/89 98.7 °F
( Pulse 2 Respiration
100 a 18
Oxygen
Saturation
97%

MyChart Sign-Up

Send messages to your doctor, view your
test results, renew your prescriptions,
schedule appointments, and more.

Go to https://
mychart.methodisthospitals.org/
mychart/, click "Sign Up Now", and enter
your personal activation code:
6SJT3-5QGSH-RSFZW. Activation code
expires 6/30/2020.

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Your Medication List

fp

 

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ASK

   

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MyChart Activation Instructions

Thank you for your interest in MyChart, Methodist Hospitals’ secure online patient portal. Please follow the instructions
below to access your secure online medical record. MyChart allows you to view most outpatient test results and review
information you receive following appointments or discharge from the Emergency Department or Hospital.

How Do | Sign Up?

1. In your Internet browser, go to https://mychart.methodisthospitals.org/mychart/.
2. Click on the Sign Up Now link in the Sign In box. You will see the New Member Sign Up page.

3. Enter your MyChart Access Code exactly as it appears below. You will not need to use this code after you've
completed the sign-up process. If you do not sign up before the expiration date, you must request a new code.
MyChart Access Code: 6SJT3-5QGSH-RSFZW
Expires: 6/30/2020 10:01 PM

4. Enter the last 4 digits of your Social Security Number (xxxx) and Date of Birth (mm/dd/yyyy) as indicated and
click Submit. You will be taken to the next sign-up page.

Create a MyChart ID. This will be your MyChart login ID and cannot be changed, so think of one that is secure
and easy to remember.

Create a MyChart password. You can change your password at any time.

Enter your Password Reset Question and Answer. This can be used at a later time if you forget your password.
Enter your e-mail address. You will receive e-mail notification when new information is available in MyChart.
Click Sign Up. You can now view your medical record.

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Can My Family Get Access To See My MyChart?

Yes, you can give your family members Proxy Access to see your MyChart. Proxy Access allows your loved ones to sign
up for a MyChart account and be able to view your health record. To get Proxy Access, have your family member fill out

an Adult Proxy Form and you'll need to fill out an Adult Authorization Form. Just ask a staff member for a form or call
Medical Records at 219-738-5586.

Additional information

If you have questions, you can call Medical Records at 219-738-5586 Monday through Friday from 8am-4pm.Remember,
MyChart is NOT to be used for urgent needs. For medical emergencies, dial 911.

Non-Life Threatening Emergencies

FOR YOUR NON-LIFE THREATENING EMERGENCIES

Methodist CareFirst now has these sites open to further meet the health care needs of you and your family.

Address: 1275 East North Avenue Address: 751 E. 81st Ave
Crown Point, In Merrillville, In
Phone: 219-663-2793 Phone: 219-791-9389
Fax: 219-663-3106 Fax: 219-791-9464
Hours: Monday - Friday 9 am - 7 pm Hours: Monday - Friday 9 am - 7 pm
Saturday 10 am - 5 pm Saturday 10 am - 5 pm

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‘Non-Life Threatening Emergencies (continued)
Sunday 10 am - 4 pm Sunday 10 am - 4 pm

Disclaimer
RECOGNIZING MEDICAL EMERGENCIES

According to the American College of Emergency Physician, the following are warning signs of a medical emergency.

* Bleeding that will not stop

* Breathing problems (difficulty breathing shortness of breath)

* Change in mental status (such as unusual behavior, confusion, difficulty arousing)
¢ Chest pain

¢ Choking

* Coughing up or vomiting blood

* Fainting or loss of consciousness

* Feeling of committing suicide or murder

¢ Head or spine injury

° Severe or persistent vomiting

* Sudden injury due to a motor vehicle accident, burns or smoke inhalation, near drowning, deep or large wound, etc.
* Sudden, severe pain anywhere in the body

* Sudden, dizziness, weakness, or change in vision

¢ Swallowing a poisonous substance

¢ Upper abdominal pain or pressure

BE PREPARED

* Keep emergency phone numbers posted by the phone. Everyone in your household, including children, should know
when and how to call these numbers. These numbers include: fire department, police department, poison control
center, ambulance center, your doctors' phone numbers, contact numbers of neighbors or nearby friends or relatives,
and work phone numbers.

* Know at which hospital(s) your doctor practices and, if practical go there in an emergency.

* Wear a medical identification tag if you have a chronic condition or look for one on a person who has any of the
symptoms mentioned.

* Get a personal emergency response system if you are elderly, especially if you live alone.

WHAT TO DO IF SOMEONE NEEDS HELP

* Remain calm, and call your local emergency number (such as 911)

+ Start CPR (cardiopulmonary resuscitation) or rescue breathing, if necessary and if you know the proper technique.

* Place a semiconscious or unconscious person in the recovery position until the ambulance arrives. DO NOT move
the person, however, if there has been or may have been a neck injury.

CALL YOUR LOCAL EMERGENCY NUMBER (SUCH AS 911) IF:
* The person's condition is life-threatening (for example, the person is having a heart attack or severe allergic reaction)

* The person's condition could become life-threatening on the way to the hospital
* Moving the person could cause further injury (for example, in case of a neck injury or motor vehicle accident)

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-Disclaimer (continued)

¢ The person needs the skills or equipment of paramedics
* Traffic conditions or distance might cause a delay in getting the person to the hospital

Smoking Help

Stop Smoking Now!
If you or someone you know wants to quit smoking, but needs help, the following additional resources are available:

¢ Methodist Hospital Respiratory Therapy
¢ Northlake 219-886-4644
¢ Southlake 219-738-5516

e Methodist Hospital web site www.methodisthospitals.org
e American Lung Association www.lungusa.org
¢ Indiana Tobacco Quit Line (1-800-QUIT-NOW)

Disclaimer

information obtained by:
By signing below, | understand that if any problems occur once | leave the hospital | am to contact my primary
care physician. | understand and acknowledge receipt of the instructions indicated above.

Patient/Guardian Signature:
Date:

 

 

Witness Signature:
Cail Back Number:

 

 

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Instructions
ADDITIONAL FOLLOW-UP INSTRUCTIONS:

Your evaluation today is reassuring and your emergency care team has decided it is safe for you to return home.
However, many potentially serious conditions cannot be detected with standard emergency testing. It is very important
that you follow up with your doctor as directed for further examination and possible additional testing or treatment.

Follow up care is nearly always required after a visit to the Emergency Department. It is your responsibility to call the
number(s) provided for a follow up appointment. Your diagnosis today is a provisional one based on information
available to the Emergency Physician today. The diagnosis may change as more information becomes available to your
personal physician or other healthcare providers. If you develop any new, worsening, or concerning symptoms of
illness, and are unable to follow up with a private physician, please return here or to the nearest Emergency
Department for further care.

Do you have prescriptions today?

Prescriptions can be filled at the pharmacy of your choice. Keep in mind that most prescriptions should be filled
immediately (or first thing tomorrow morning if it is after business hours). This is especially important for
antibiotics.

There are a few medications which are FREE at Meijer (amoxicillin, cephalexin (keflex), bactrim, ampicillin, penicillin,
and erythromycin, generic Lipitor, metformin and prenatal vitamins). Also, Walmart, Target, and Fagen pharmacies
provide a number of medications for $4. You may call the pharmacy or check online to see if your medication is
covered.

* Medication refills MUST be given by your primary care provider. If you do not have a doctor, some options have
been recommended for you. The emergency department cannot provide refills.

¢ If you were given pain medications, keep in mind that further pain medication must be obtained from
your follow up provider. Do not wait until the weekend or until you are out of medicine to ask your
doctor for a refill.

Did you have X-rays taken today?

Any X-rays taken during your visit have been reviewed by the emergency physician today. The x-rays will be read
again by the radiologist within 24 hours and additional abnormalities may be found. You should follow up with
your primary care provider for the final results to be sure no additional treatment is needed.

Do you need a personal doctor or primary care clinic?

If you do not have a physician an alternative has been listed for you. You may also contact the Methodist Hospital
doctor referral hotline at 1-888-909-3627. There are two community healthcare centers also available for you.
They accept most insurances and self pay accounts. Self pay accounts or patients without insurance are charged on
a sliding scale basis.

North Shore Health Centers Community Health Net

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[St Attached Information Contusion (English)

Contusion

 

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A contusion is a deep bruise. Contusions are the result of a blunt injury to tissues and muscle fibers under the skin. The
injury causes bleeding under the skin. The skin overlying the contusion may turn blue, purple, or yellow. Minor injuries
will give you a painless contusion, but more severe contusions may stay painful and swollen for a few weeks.

What are the causes?
This condition is usually caused by a blow, trauma, or direct force to an area of the body.

What are the signs or symptoms?

Symptoms of this condition include:

* Swelling of the injured area.
* Pain and tenderness in the injured area.
* Discoloration. The area may have redness and then turn blue, purple, or yellow.

How is this diagnosed?

This condition is diagnosed based ona physical exam and medical history. An X-ray, CT scan, or MRI may be needed to
determine if there are any associated injuries, such as broken bones (fractures).

How is this treated?

Specific treatment for this condition depends on what area of the body was injured. In general, the best treatment fora
contusion is resting, icing, applying pressure to (compression), and elevating the injured area. This is often called the
RICE strategy. Over-the-counter anti-inflammatory medicines may also be recommended for pain control.

Follow these instructions at home:

* Rest the injured area.
* If directed, apply ice to the injured area:
° Put ice in a plastic bag.
° Place a towel between your skin and the bag.
° Leave the ice on for 20 minutes, 2-3 times per day.

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“* If directed, apply light compression to the injured area using an elastic bandage. Make sure the bandage is not
wrapped too tightly. Remove and reapply the bandage as directed by your health care provider.
* If possible, raise (elevate) the injured area above the level of your heart while you are sitting or lying down.
* Take over-the-counter and prescription medicines only as told by your health care provider.

Contact a health care provider if:

* Your symptoms do not improve after several days of treatment.
* Your symptoms get worse.
* You have difficulty moving the injured area,

Get help right away if:

* You have severe pain.
* You have numbness in a hand or foot.
* Your hand or foot turns pale or cold.

This information is not intended to replace advice

given to you by your health care provider. Make sure you discuss any
questions you have with your health care provider.

Document Released: 09/27/2006 Document Revised: 04/27/2017 Document Reviewed: 05/04/2016
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